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6    Attorney for Defendant
     CRYSTAL RUSSO
7
8
                          IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
13   UNITED STATES OF AMERICA,                )   Case No. 2:11-CR-0198 MCE
                                              )
14                            Plaintiff,      )
                                              )   STIPULATION AND ORDER
15                vs.                         )   CONTINUING STATUS CONFERENCE
                                              )   AND EXCLUDING TIME
16   CRYSTAL RUSSO,                           )
                                              )
17                            Defendant.      )   Date: May 1, 2014
                                              )   Time: 9:00 a.m.
18                                            )   Judge: Hon. Morrison C. England
19
20         It is hereby stipulated and agreed between defendant, Crystal Russo, and
21   plaintiff, United States of America, that the status conference scheduled for May 1,
22   2014, may be rescheduled for June 12, 2014, at 9:00 a.m. and time under the Speedy
23   Trial Act excluded as set forth below.
24         The defense has provided to the assigned Assistant U.S. attorney information
25   about discussions with prior counsel. Additional discovery promised by prior
26   government counsel has not yet been provided but the parties’ discussions may obviate
27   the need for additional discovery. The parties expect to meet and confer again before
28   the rescheduled status conference. The parties therefore agree that the ends of justice

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1    served by this continuance outweigh the best interests of the public and the defendant
2    in a speedy trial and ask that time under the Speedy Trial Act should be excluded
3    through June 12, 2014, pursuant to 18 U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and (b)(IV).
4                                             Respectfully Submitted,
5                                             HEATHER E. WILLIAMS
                                              Federal Defender
6
7    Dated: April 29, 2014                    /s/ T. Zindel__________________
                                              TIMOTHY ZINDEL
8                                             Assistant Federal Defender
                                              Attorney for CRYSTAL RUSSO
9
10                                            BENJAMIN WAGNER
                                              United States Attorney
11
12   Dated: April 29, 2014                    /s/ T. Zindel for J. Hitt    ____
                                              JASON HITT
13                                            Assistant U.S. Attorney
14
15                                           ORDER
16         The status conference is continued to June 12, 2014, at 9:00 a.m. The Court
17   finds that a continuance is necessary for the reasons stated above and that the ends of
18   justice served by granting a continuance outweigh the best interests of the public and
19   the Defendant in a speedy trial. Time is therefore excluded from the date of this order
20   through June 12, 2014, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
21         IT IS SO ORDERED.
22   Dated: May 2, 2014
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